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 4
                             UNITED STATES DISTRICT COURT
 5
 6                          CENTRAL DISTRICT OF CALIFORNIA
 7     MICHAEL NAVARRO Plaintiff                     Case No.: 2:20−cv−08919 RGK (MAAx)
 8
            v.
 9
                                                     [PROPOSED] ORDER RE DISMISSAL
10     EVERGREEN PACKAGING LLC., and
11
       Does 1 to 100, Defendants

12
13          Pursuant to the parties' STIPULATION FOR DISMISSAL [Document 31],
14     the above-captioned lawsuit is hereby dismissed in its entirety, without preju-
15     dice, with each party to bear its own fees and costs.
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17
       IT IS SO ORDERED
18
19
20             October 8, 2021
       Dated: ______________              __________________________________
21                                        R. GARY KLAUSNER
                                          UNITED STATES DISTRICT JUDGE
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                                   [PROPOSED] ORDER RE DISMISSAL
